319 F.3d 1156
    CONCORD BOAT CORPORATION; et al, Appellees,v.BRUNSWICK CORPORATION, etc., Appellant.
    No. 01-3580.
    United States Court of Appeals, Eighth Circuit.
    January 6, 2003.
    
      1
      Appeal from the United States District Court for the Eastern District of Arkansas.
    
    
      2
      Upon consideration of appellant Brunswick Corporation's motion to recall and amend the mandate and appellees' opposition, the motion to recall the mandate is granted. The mandate shall be amended to include post-judgment interest on the total amount of the costs this court has awarded ($1,068,717.48), to run from the date of the original district court judgment (December 28, 2000), at the statutory rate of 5.44% to be calculated in accordance with 28 U.S.C. Section 1961.
    
    